** COUNTY HOSPITAL TRUST AUTHORITY — PROCEEDS OF BONDS ** (1) THE BOARD OF CONTROL OF THE TILLMAN COUNTY HOSPITAL IS NOT AUTHORIZED TO ADOPT THE PROPOSED RESOLUTION WHICH HAS BEEN SUBMITTED BY YOU FOR THE FOLLOWING REASONS; THE REFUND AND PETTY CASH ACCOUNTS MAY NOT BE CONSOLIDATED; SINCE THE ACT SETS OUT THE PROCEDURES FOR EACH, THE AMOUNT AUTHORIZED TO BE IN EACH OF SAID ACCOUNTS, AND THE MANNER IN WHICH EACH IS TO BE USED. THE BOARD IS NOT AUTHORIZED TO INCLUDE PAYMENT OF SALARIES ON A SEMI-MONTHLY BASIS SINCE THE ACT CONTEMPLATES ONLY A MONTHLY BASIS.  (2) THE BOARD OF CONTROL MAY ADOPT A RESOLUTION ESTABLISHING AN "ACCOUNTS PAYABLE ACCOUNT", THOUGH NOT SPECIFICALLY AUTHORIZED, UNDER THE AUTHORITY GRANTED TO THE BOARD UNDER SECTION 4(D) AND THE PORTION OF YOUR RESOLUTION PERTAINING THERETO SEEMS TO BE COMPLY WITH THE SPIRIT OF THE ACT. (PROCEEDS FROM BONDS, REFUND ACCOUNT) CITE: 19 O.S. 786 [19-786] (W. J. MONROE)